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     Mathew K. Higbee, Esq., SBN 11158
 1   HIGBEE & ASSOCIATES
     2445 Fire Mesa Street, Suite 150
 2
     Las Vegas, NV 89128
 3   (714) 617-8352 telephone
     (714) 617-8511 facsimile
 4   Email: mhigbee@higbeeassociates.com

 5   Carlos C. Alsina, Esq.
     Pro Hac Vice admission application to follow
 6   The Law Offices of Jeffrey Lohman, P.C.
     4740 Green River Rd., Suite 310
 7   Corona, CA 92880
     (657) 363-3331 telephone
 8
     (657) 246-1311 facsimile
 9
     Email: CarlosA@jlohman.com

10                                  UNITED STATES DISTRICT COURT
                                       NEVADA DISTRICT COURT
11
     RODRIGO MIJARES,                               ) Case No. _________________________
12                                                  )
                      Plaintiffs,                   )
13                                                  )
            v.                                      ) COMPLAINT
14                                                  )
     CAPITAL ONE BANK (USA), N.A.,                  ) DEMAND FOR JURY TRIAL
15                                                  )
                      Defendant.                    )
16                                                  )

17

18
            NOW COMES Plaintiff, RODRIGO MIJARES (“Plaintiff”), through his attorneys, and
19

20
     hereby alleges the following against Defendant, CAPITAL ONE BANK (USA), N.A.

21   (“Defendant”):

22                                             INTRODUCTION

23      1. Plaintiff brings this action on behalf of himself individually seeking damages and any

24   other available legal or equitable remedies resulting from the illegal actions of Defendant, in
25
     negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in

                                                     1
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     violation of the Telephone Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et
 1
     seq.
 2

 3                                         JURISDICTION AND VENUE

 4       2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,

 5   Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012), holding that federal and state

 6   courts have concurrent jurisdiction over private suits arising under the TCPA.
 7       3. Venue is proper in the United States District Court for the District of Nevada pursuant to
 8
     28 U.S.C § 1391(b)(2) because Plaintiff resides within this District and a substantial part of the
 9
     events or omissions giving rise to the herein claims occurred, or a substantial part of property
10
     that is the subject of the action is situated within this District.
11
                                                        PARTIES
12
         4. Plaintiff is a natural person residing in Lyon County, in the city of Silver Springs,
13
     Nevada.
14

15
         5. Defendant is a nationally chartered bank doing business in the State of Nevada.

16       6. At all times relevant to this Complaint, Defendant has acted through its agents,

17   employees, officers, members, directors, heir, successors, assigns, principals, trustees, sureties,

18   subrogees, representatives and insurers.

19                                           FACTUAL ALLEGATIONS
20
         7. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged
21
     debts incurred through purchases made on credit issued by Defendant.
22
         8. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (702)
23
     XXX-5100.
24

25


                                                         2
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         9. Defendant placed collection calls to Plaintiff from various phone numbers including, but
 1
     not limited to (800) 955-6600.
 2

 3       10. On information and belief based on the pattern of calls and Defendant’s prior business

 4   practices, Defendant’s calls were placed with an automated telephone dialing system (“auto-

 5   dialer”).

 6       11. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §
 7   227(a) (1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly
 8
     owed by Plaintiff, Rodrigo Mijares.
 9
         12. Defendant’s calls did not constitute calls for emergency purposes as defined by 47
10
     U.S.C. § 227(b)(1)(A).
11
         13. Defendant’s calls were placed to a telephone number assigned to a cellular telephone
12
     service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).
13
         14. Defendant never received Plaintiff’s “prior express consent” to receive calls using an
14

15
     automatic telephone dialing system or an artificial or prerecorded voice on his cellular telephone

16   pursuant to 47 U.S.C. § 227(b)(1)(A).

17       15. On or about November 2, 2017, the Plaintiff spoke with Defendant’s customer service

18   representative who answered at phone number (800) 955-6600, and requested that Defendant

19   cease calling Plaintiff’s cellular phone.
20
         16. During the conversation on November 2, 2017, Plaintiff gave Defendant both his phone
21
     number and social security number to assist Defendant in identifying him and accessing his
22
     account information before asking Defendant to stop calling his cell phone.
23

24

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                                                     3
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        17. Plaintiff revoked any consent, explicit, implied, or otherwise, to call his cellular
 1
     telephone and/or to receive Defendant’s calls using an automatic telephone dialing system in his
 2

 3   conversation with Defendant’s representative November 2, 2017.

 4      18. Despite Plaintiff’s request to cease, Defendant continued to place calls to Plaintiff after

 5   November 2, 2017.

 6      19. Defendant continued to place collection calls to Plaintiff, at the very least, through
 7   December 27, 2017.
 8
        20. Despite Plaintiff’s request that Defendant cease placing automated collection calls,
 9
     Defendant placed at least sixty-two (62) automated calls to Plaintiff’s cell phone.
10
                          FIRST CAUSE OF ACTION
11   NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227
12
        21. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
13
             forth above at Paragraphs 1-20.
14

15
        22. The foregoing acts and omissions of Defendant constitute numerous and multiple

16           negligent violations of the TCPA, including but not limited to each and every one of the

17           above cited provisions of 47 U.S.C. § 227 et seq.

18      23. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

19           entitled to an award of $500.00 in statutory damages, for each and every violation,
20
             pursuant to 47 U.S.C. §227(b)(3)(B).
21
        24. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
22
        //
23
        //
24
        //
25


                                                       4
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                        SECOND CAUSE OF ACTION
 1    KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
                            PROTECTION ACT
 2
                           47 U.S.C. § 227 et. seq.
 3      25. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
 4   forth above at Paragraphs 1-20.
 5
        26. The foregoing acts and omissions of Defendant constitute numerous and multiple
 6
     knowing and/or willful violations of the TCPA, including but not limited to each and every one
 7
     of the above cited provisions of 47 U.S.C. § 227 et seq.
 8
        27. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
 9
     Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every violation,
10
     pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
11
        28. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
12

13                                         PRAYER FOR RELIEF

14          WHEREFORE, Plaintiff, Rodrigo Mijares, respectfully requests judgment be entered

15   against Defendant, Capital One Bank (USA), N.A., for the following:

16                                      FIRST CAUSE OF ACTION
17      29. For statutory damages of $500.00 multiplied by the number of negligent violations of the
18   TCPA alleged herein (62); $31,000.00;
19      30. Actual damages and compensatory damages according to proof at time of trial;
20                                     SECOND CAUSE OF ACTION
21      31. For statutory damages of $1,500.00 multiplied by the number of knowing and/or willful
22   violations of TCPA alleged herein (62); $93,000;
23      32. Actual damages and compensatory damages according to proof at time of trial;
24                                     ON ALL CAUSES OF ACTION
25
        33. Litigation costs and reasonable attorneys’ fees;

                                                       5
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        34. Any other relief that this Honorable Court deems appropriate.
 1
                                           JURY TRIAL DEMAND
 2

 3      35. Plaintiff demands a jury trial on all issues so triable.

 4
                                                    RESPECTFULLY SUBMITTED,
 5

 6   Dated: September 28, 2018
                                            By:     /s/ Mathew K. Higbee
 7                                                  Mathew K. Higbee, Esq., SBN 11158
                                                    HIGBEE & ASSOCIATES
 8                                                  2445 Fire Mesa Street, Suite 150
                                                    Las Vegas, NV 89128
 9                                                  Tel. (714) 617-8352
                                                    Facsimile (714) 617-8511
10

11
                                               By: /s/Carlos C. Alsina
                                                   Carlos Alsina, Esq.
12                                                 Pro Hac Vice admission pending
                                                    THE LAW OFFICES OF JEFFREY LOHMAN, P.C.
13                                                  4740 Green River Rd., Suite 310
                                                    Corona, CA 92880
14                                                  Tel. (657) 363-3331
                                                    Facsimile (657) 246-1311
15                                                  Attorneys for Plaintiff Rodrigo Mijares
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